                                                                                    Case 15-18059                   Doc 1
                                                                                                                        Filed 05/22/15 Entered 05/22/15 10:49:52 Desc Main
                                                                     B1 (Official Form 1) (04/13)                         Document        Page 1 of 29
                                                                                                           United States Bankruptcy Court
                                                                                                             Northern District of Illinois                       Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Mellin, Jennifer
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     3511                                                 (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      5 Penny Lane
                                                                      Sugar Grove, IL
                                                                                                                            ZIPCODE 60554                                                                                    ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Kane
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                   the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in 11               Chapter 9                    Recognition of a Foreign
                                                                        See Exhibit D on page 2 of this form.                      U.S.C. § 101(51B)                                       Chapter 11                   Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                             Chapter 13                   Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                                     Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor                                                                                     Debts are primarily consumer       Debts are primarily
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity                            debts, defined in 11 U.S.C.         business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                        Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                   COURT USE ONLY
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors

                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case 15-18059               Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                    Desc Main
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                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Mellin, Jennifer

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X   /s/ C David Ward                                               5/22/15
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                          No

                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                              Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                    (Check any applicable box.)
                                                                              Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Mellin, Jennifer

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Jennifer Mellin                                                                    Signature of Foreign Representative
                                                                          Signature of Debtor                                      Jennifer Mellin
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          May 22, 2015
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ C David Ward                                                                  preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          C David Ward 2938065                                                              110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          C. David Ward                                                                     pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          1480 N. Orchard Rd. Ste. 110                                                      chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Aurora, IL 60506                                                                  notice of the maximum amount before preparing any document for filing
                                                                          (630) 585-3164 Fax: (630) 551-7131                                                for a debtor or accepting any fee from the debtor, as required in that
                                                                          cdward1945@yahoo.com                                                              section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          May 22, 2015
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                                 CaseForm
                                                                     B6 Summary (Official 15-18059
                                                                                             6 - Summary) Doc
                                                                                                          (12/14)1               Filed 05/22/15 Entered 05/22/15 10:49:52                                      Desc Main
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                                                                                                                                  United States Bankruptcy Court
                                                                                                                                    Northern District of Illinois

                                                                     IN RE:                                                                                                                Case No.
                                                                     Mellin, Jennifer                                                                                                      Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED             NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $         208,627.00



                                                                      B - Personal Property                                           Yes                          3 $            6,303.31



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $        250,317.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          2                           $          22,081.74
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          7                           $        190,310.95
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           7,575.23
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          3                                                     $           5,042.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      22 $          214,930.31 $             462,709.69
                                                                                 Case Form
                                                                     B 6 Summary (Official 15-18059
                                                                                              6 - Summary)Doc
                                                                                                          (12/14)1   Filed 05/22/15 Entered 05/22/15 10:49:52                    Desc Main
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                                                                                                                      United States Bankruptcy Court
                                                                                                                        Northern District of Illinois

                                                                     IN RE:                                                                                       Case No.
                                                                     Mellin, Jennifer                                                                             Chapter 13
                                                                                                               Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                         Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $            0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $       22,081.74
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $            0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $      102,466.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $            0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $            0.00

                                                                                                                                                             TOTAL      $      124,547.74


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $        7,575.23

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $        5,042.00

                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                      Line 14 )                                                                                         $       11,538.46


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                          $    41,690.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $       22,081.74

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                            $         0.00

                                                                      4. Total from Schedule F                                                                                              $   190,310.95

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                          $   232,000.95
                                                                                   Case
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                                                                     IN RE Mellin, Jennifer                                                                                                  Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Residence at 5 Penny Lane, Sugar Grove, IL 60554                                                                                                        208,627.00               250,317.00
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                                                                                                                                                                                      TOTAL                                  208,627.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                                    Case
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                                                                     IN RE Mellin, Jennifer                                                                                                 Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on hand.                                                                                                                   50.00
                                                                        2. Checking, savings or other financial            Bank of America checking account.                                                                                           1,603.31
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods and furnishings.                                                                                            1,000.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Wearing apparel.                                                                                                              500.00
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                                    Case
                                                                     B6B (Official Form 6B) 15-18059
                                                                                            (12/07) - Cont.          Doc 1    Filed 05/22/15 Entered 05/22/15 10:49:52                     Desc Main
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                                                                     IN RE Mellin, Jennifer                                                                                     Case No.
                                                                                                                             Debtor(s)                                                                        (If known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                      N                                                                                              DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                               PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                                 DEDUCTING ANY
                                                                                                                      E                                                                                               SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION




                                                                      15. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                        X
                                                                      17. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor       X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life          X
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                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations        X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              2004 Mini Cooper                                                                                     3,150.00
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.             X
                                                                      27. Aircraft and accessories.                   X
                                                                      28. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      30. Inventory.                                  X
                                                                      31. Animals.                                    X
                                                                      32. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      33. Farming equipment and implements.           X
                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                                    Case
                                                                     B6B (Official Form 6B) 15-18059
                                                                                            (12/07) - Cont.     Doc 1    Filed 05/22/15 Entered 05/22/15 10:49:52                          Desc Main
                                                                                                                           Document     Page 9 of 29
                                                                     IN RE Mellin, Jennifer                                                                                Case No.
                                                                                                                        Debtor(s)                                                                                (If known)

                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                 N                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                 O                                                                                                       PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                  DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                 N                                                                                                         DEDUCTING ANY
                                                                                                                 E                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                             EXEMPTION




                                                                      35. Other personal property of any kind    X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                          TOTAL                                   6,303.31
                                                                                                                                                                     (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                     Report total also on Summary of Schedules.)
                                                                                   Case
                                                                     B6C (Official Form 6C) 15-18059
                                                                                            (04/13)                Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                Desc Main
                                                                                                                                  Document     Page 10 of 29
                                                                     IN RE Mellin, Jennifer                                                                                           Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand.                                                735 ILCS 5 §12-1001(b)                                                  50.00                     50.00
                                                                     Bank of America checking account.                            735 ILCS 5 §12-1001(b)                                              1,603.31                 1,603.31
                                                                     Household goods and furnishings.                             735 ILCS 5 §12-1001(b)                                              1,000.00                 1,000.00
                                                                     Wearing apparel.                                             735 ILCS 5 §12-1001(a)                                                500.00                     500.00
                                                                     2004 Mini Cooper                                             735 ILCS 5 §12-1001(c)                                              2,400.00                 3,150.00
                                                                                                                                  735 ILCS 5 §12-1001(b)                                                750.00
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                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                   Case
                                                                     B6D (Official Form 6D) 15-18059
                                                                                            (12/07)                 Doc 1                  Filed 05/22/15 Entered 05/22/15 10:49:52                                                                              Desc Main
                                                                                                                                            Document     Page 11 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                     Case No.
                                                                                                                                 Debtor(s)                                                                                                                                     (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                   UNLIQUIDATED
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                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                AMOUNT OF




                                                                                                                                                                                                                                                  DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                        UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                      PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL




                                                                     ACCOUNT NO.                                                                                   Home Owners Association dues for                                                                     246.00                   246.00
                                                                     Blackberie Hill Homeowners Association                                                        condo.
                                                                     53 Hillcrest Drive
                                                                     Sugar Grove, IL 60554

                                                                                                                                                                   VALUE $ 208,627.00

                                                                     ACCOUNT NO. 2680                                                                              MORTGAGE ACCOUNT OPENED 1/2010                                  X                             250,071.00                 41,444.00
                                                                     Chase Mtg                                                                                     First mortgage on residence at 5 Penny
                                                                     Po Box 24696                                                                                  Lane, Sugar Grove, IL 60554
                                                                     Columbus, OH 43224

                                                                                                                                                                   VALUE $ 208,627.00

                                                                     ACCOUNT NO.                                                                                   HOA fees and assessments.                                       X                               unknown
                                                                     Prestbury Citizens Association
                                                                     C/O Vanguard Community Mgmt
                                                                     PO Box 61955
                                                                     Phoenix, AZ 85082-1955
                                                                                                                                                                   VALUE $ 208,627.00

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                        Subtotal
                                                                            0 continuation sheets attached                                                                                                  (Total of this page) $ 250,317.00 $                                             41,690.00
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $ 250,317.00 $                                              41,690.00
                                                                                                                                                                                                                                                             (Report also on         (If applicable, report
                                                                                                                                                                                                                                                             Summary of              also on Statistical
                                                                                                                                                                                                                                                             Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                     Liabilities and Related
                                                                                                                                                                                                                                                                                     Data.)
                                                                                    Case
                                                                     B6E (Official Form 6E) 15-18059
                                                                                            (04/13)                  Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                         Desc Main
                                                                                                                                    Document     Page 12 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                    Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                                    Case
                                                                     B6E (Official Form 6E) 15-18059
                                                                                            (04/13) - Cont.       Doc 1                                    Filed 05/22/15 Entered 05/22/15 10:49:52                                                                         Desc Main
                                                                                                                                                            Document     Page 13 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                                                                Case No.
                                                                                                                                                    Debtor(s)                                                                                                                     (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                               AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                            AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                 AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                    ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                 OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                     TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                 CLAIM
                                                                                                                                                                                                                                                                            PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                IF ANY




                                                                     ACCOUNT NO.                                                                           2009 1040 income taxes and                                            X
                                                                     Internal Revenue Service                                                              2014
                                                                     P.O. Box 7346
                                                                     Philadelphia, PA 19101-7346

                                                                                                                                                                                                                                                            22,081.74       22,081.74
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page) $                                     22,081.74 $     22,081.74 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                         22,081.74
                                                                                                                                                                                Total
                                                                                                                  (Use only on last page of the completed Schedule E. If applicable,
                                                                                                     report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                   $   22,081.74 $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
                                                                                        6F) (12/07)                 Doc 1          Filed 05/22/15 Entered 05/22/15 10:49:52                                                          Desc Main
                                                                                                                                    Document     Page 14 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                       Case No.
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO.                                                                                          unsecured credit                                                              X
                                                                     Abigail Chiesa
                                                                     757 Brighton Dr.
                                                                     Sugar Grove, IL 60554

                                                                                                                                                                                                                                                                                   3,800.00
                                                                     ACCOUNT NO. 1735                                                                                     medical services                                                              X
                                                                     Alliance Clinical Associates SC
                                                                     7 Blanchard Circle, Ste 201
                                                                     Wheaton, IL 60189-2039

                                                                                                                                                                                                                                                                                     310.00
                                                                     ACCOUNT NO. 1463                                                                                     medical services                                                              X
                                                                     Associate Pathologists Of Joliet
                                                                     330 Madison Street, Suite 200
                                                                     Joliet,, IL 60435

                                                                                                                                                                                                                                                                                     590.00
                                                                     ACCOUNT NO.                                                                                          medical services                                                              X
                                                                     Aurora Emergency Associates LTD
                                                                     3429 Regal Dr.
                                                                     Alcoa, TN 37701-3265

                                                                                                                                                                                                                                                                                   1,754.00
                                                                                                                                                                                                                                           Subtotal
                                                                            6 continuation sheets attached                                                                                                                     (Total of this page) $                              6,454.00
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                                           Desc Main
                                                                                                                                 Document     Page 15 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                     Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 7080                                                                                   REVOLVING ACCOUNT OPENED 10/2008                                              X
                                                                     Bank Of America
                                                                     Legal Order Processing
                                                                     PO Box 15047
                                                                     Wilmington, DE 19850-5047
                                                                                                                                                                                                                                                                                12,458.00
                                                                     ACCOUNT NO. 9230                                                                                   REVOLVING ACCOUNT OPENED 3/2013                                               X
                                                                     Barclays Bank Delaware
                                                                     P.o. Box 8803
                                                                     Wilmington, DE 19899
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                                                                                                                                                                                                                                                                                 2,446.00
                                                                     ACCOUNT NO. 6192                                                                                   REVOLVING ACCOUNT OPENED 9/2001                                               X
                                                                     Capital One
                                                                     Pob 30281
                                                                     Salt Lake City, UT 84130

                                                                                                                                                                                                                                                                                 3,258.00
                                                                     ACCOUNT NO.                                                                                        medical services                                                              X
                                                                     Castle Orthopaedics
                                                                     2111 Ogden Ave.
                                                                     Aurora, IL 60504

                                                                                                                                                                                                                                                                                 1,052.37
                                                                     ACCOUNT NO. 5336                                                                                   REVOLVING ACCOUNT OPENED 2/2013                                               X
                                                                     Cb/talbots
                                                                     Po Box 182789
                                                                     Columbus, OH 43218

                                                                                                                                                                                                                                                                                 2,169.00
                                                                     ACCOUNT NO. 5716                                                                                   REVOLVING ACCOUNT OPENED 5/2013                                               X
                                                                     Chase
                                                                     800 Brooksedge Blvd.
                                                                     Westerville, OH 43081

                                                                                                                                                                                                                                                                                 3,206.00
                                                                     ACCOUNT NO. 2217                                                                                   REVOLVING ACCOUNT OPENED 3/2013                                               X
                                                                     Comenity Bank/pttrybrn
                                                                     Po Box 182789
                                                                     Columbus, OH 43218

                                                                                                                                                                                                                                                                                 1,149.00
                                                                     Sheet no.       1 of        6 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             25,738.37
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                                           Desc Main
                                                                                                                                 Document     Page 16 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                     Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2994                                                                                   REVOLVING ACCOUNT OPENED 2/2011                                               X
                                                                     Comenity Capital/jjill
                                                                     995 W 122nd Ave
                                                                     Westminster, CO 80234

                                                                                                                                                                                                                                                                                   508.00
                                                                     ACCOUNT NO. 2425                                                                                   REVOLVING ACCOUNT OPENED 12/2012                                              X
                                                                     Comenitybank/coldwcmc
                                                                     3100 Easton Square Pl
                                                                     Columbus, OH 43219
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                                                                                                                                                                                                                                                                                 6,000.00
                                                                     ACCOUNT NO. 1421                                                                                   REVOLVING ACCOUNT OPENED 2/2013                                               X
                                                                     Comenitybank/talbots
                                                                     Po Box 182789
                                                                     Columbus, OH 43218

                                                                                                                                                                                                                                                                                 2,169.00
                                                                     ACCOUNT NO. 0085                                                                                   REVOLVING ACCOUNT OPENED 7/2013                                               X
                                                                     Commerce Bk
                                                                     Po Box 411036
                                                                     Kansas City, MO 64141

                                                                                                                                                                                                                                                                                 4,683.00
                                                                     ACCOUNT NO. 2977                                                                                   medical services                                                              X
                                                                     Conventions Psychiatry
                                                                     Department 4563
                                                                     Carol Stream, IL 60122

                                                                                                                                                                                                                                                                                 1,155.00
                                                                     ACCOUNT NO. 9293                                                                                   REVOLVING ACCOUNT OPENED 8/2013                                               X
                                                                     Credit One Bank Na
                                                                     Po Box 98872
                                                                     Las Vegas, NV 89193

                                                                                                                                                                                                                                                                                   662.00
                                                                     ACCOUNT NO. 6436                                                                                   medical services collections for Aurora                                       X
                                                                     Hhrg                                                                                               Emergency Associates Ltd.
                                                                     PO Box 459080
                                                                     Sunrise, FL 33345-9080

                                                                                                                                                                                                                                                                                 1,754.00
                                                                     Sheet no.       2 of        6 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             16,931.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                                           Desc Main
                                                                                                                                 Document     Page 17 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                     Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Aurora Emergency Associates LTD                                                                    Hhrg
                                                                     3429 Regal Dr.
                                                                     Alcoa, TN 37701-3265



                                                                     ACCOUNT NO. 6487                                                                                   medical services                                                              X
                                                                     Inpatient Consultants Of Illinois
                                                                     Po Box 844918
                                                                     Los Angeles, CA 90084
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                                                                                                                                                                                                                                                                                   196.50
                                                                     ACCOUNT NO.                                                                                        medical services                                                              X
                                                                     Midwest Orthopaedic
                                                                     25 Winfield Rd.
                                                                     Winfield, IL 60190

                                                                                                                                                                                                                                                                                    12.50
                                                                     ACCOUNT NO. 0829                                                                                   INSTALLMENT ACCOUNT OPENED 8/2000                                             X
                                                                     Navient
                                                                     Po Box 9500
                                                                     Wilkes Barre, PA 18773

                                                                                                                                                                                                                                                                                57,713.00
                                                                     ACCOUNT NO. ious                                                                                   medical services                                                              X
                                                                     Presence Mercy Medical Center
                                                                     Patient Financial Services
                                                                     1643 Lewis Ave., Ste 203
                                                                     Billings, MT 59102-4151
                                                                                                                                                                                                                                                                                29,571.47
                                                                     ACCOUNT NO. 2138                                                                                   REVOLVING ACCOUNT OPENED 3/2013                                               X
                                                                     Prfrd Cus Ac
                                                                     Cscl Dispute Team
                                                                     Des Moines, IA 50306

                                                                                                                                                                                                                                                                                 2,765.00
                                                                     ACCOUNT NO.                                                                                        medical services                                                              X
                                                                     Rush Copley Hospital
                                                                     Patient Financial Services
                                                                     2000 Ogden Ave.
                                                                     Aurora, IL 60507
                                                                                                                                                                                                                                                                                    80.00
                                                                     Sheet no.       3 of        6 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             90,338.47
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
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                                                                     IN RE Mellin, Jennifer                                                                                                                     Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2205                                                                                   medical services                                                              X
                                                                     Rush Copley Medical Group
                                                                     2040 Ogden Ave., Suite 313
                                                                     Aurora, IL 60504

                                                                                                                                                                                                                                                                                   309.00
                                                                     ACCOUNT NO.                                                                                        medical services                                                              X
                                                                     Samba RX
                                                                     1 First Canadian Place Ste 350
                                                                     Toronto
                                                                     Canada, ON M5X 1C1
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                                                                                                                                                                                                                                                                                 1,052.37
                                                                     ACCOUNT NO. 0003                                                                                   INSTALLMENT ACCOUNT OPENED 3/1991                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 2,499.00
                                                                     ACCOUNT NO. 0001                                                                                   INSTALLMENT ACCOUNT OPENED 10/1990                                            X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 2,201.00
                                                                     ACCOUNT NO. 0003                                                                                   INSTALLMENT ACCOUNT OPENED 11/1994                                            X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 2,116.00
                                                                     ACCOUNT NO. 0004                                                                                   INSTALLMENT ACCOUNT OPENED 7/1995                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                13,743.00
                                                                     ACCOUNT NO. 0002                                                                                   INSTALLMENT ACCOUNT OPENED 8/1994                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                11,385.00
                                                                     Sheet no.       4 of        6 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             33,305.37
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                                           Desc Main
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                                                                     IN RE Mellin, Jennifer                                                                                                                     Case No.
                                                                                                                              Debtor(s)                                                                                                               (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 0004                                                                                   INSTALLMENT ACCOUNT OPENED 1/1992                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 4,789.00
                                                                     ACCOUNT NO. 0005                                                                                   INSTALLMENT ACCOUNT OPENED 10/1992                                            X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711
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                                                                                                                                                                                                                                                                                 3,718.00
                                                                     ACCOUNT NO. 0006                                                                                   INSTALLMENT ACCOUNT OPENED 2/1993                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 1,469.00
                                                                     ACCOUNT NO. 0002                                                                                   INSTALLMENT ACCOUNT OPENED 1/1991                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 1,439.00
                                                                     ACCOUNT NO. 0001                                                                                   INSTALLMENT ACCOUNT OPENED 9/1993                                             X
                                                                     State Tex Studen Ln 4
                                                                     Po Box 12788
                                                                     Austin, TX 78711

                                                                                                                                                                                                                                                                                 1,394.00
                                                                     ACCOUNT NO. 8614                                                                                   medical services                                                              X
                                                                     Sugar Grove Fire Protection District
                                                                     PO Box 457
                                                                     Wheeling, IL 60090-0457

                                                                                                                                                                                                                                                                                   617.37
                                                                     ACCOUNT NO.                                                                                        ambulance services                                                            X
                                                                     Sugar Grove Fire Protection District
                                                                     PO Box 457
                                                                     Wheeling, IL 60090-0457

                                                                                                                                                                                                                                                                                   617.37
                                                                     Sheet no.       5 of        6 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             14,043.74
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                                    Case
                                                                     B6F (Official Form     15-18059
                                                                                        6F) (12/07) - Cont.       Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                                                         Desc Main
                                                                                                                                 Document     Page 20 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                                    Case No.
                                                                                                                              Debtor(s)                                                                                                             (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                     ACCOUNT NO.                                                                                        unsecured credit                                                            X
                                                                     Theodore Mellin
                                                                     19 Oakridge Rd.
                                                                     Annandale, NJ 08801

                                                                                                                                                                                                                                                                               3,500.00
                                                                     ACCOUNT NO.
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       6 of        6 continuation sheets attached to                                                                                                     Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                              3,500.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $ 190,310.95
                                                                                   Case
                                                                     B6G (Official Form 6G)15-18059
                                                                                           (12/07)                  Doc 1          Filed 05/22/15 Entered 05/22/15 10:49:52                                         Desc Main
                                                                                                                                    Document     Page 21 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                    Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                   Case
                                                                     B6H (Official Form 6H)15-18059
                                                                                           (12/07)                   Doc 1          Filed 05/22/15 Entered 05/22/15 10:49:52                                         Desc Main
                                                                                                                                     Document     Page 22 of 29
                                                                     IN RE Mellin, Jennifer                                                                                                     Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                        Case 15-18059                Doc 1           Filed 05/22/15 Entered 05/22/15 10:49:52                                   Desc Main
                                                                                                                                      Document     Page 23 of 29
                                                                                   Mellin, Jennifer
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1          Jennifer
                                                                                        ___         Mellin
                                                                                            ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                 Middle Name                Last Name

                                                                      Debtor 2            ___ _________ _______ ____ _____ ______ ____ _____ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                 Middle Name                Last Name


                                                                      United States Bankruptcy Court for t he: Northern District of Illinois

                                                                      Case num ber        ___ ____ _____ ______ _____ _____ __________ _____                                        Check if this is:
                                                                          (If known)
                                                                                                                                                                                        An amended filing
                                                                                                                                                                                        A supplement showing post-petition
                                                                                                                                                                                        chapter 13 income as of the following date:
                                                                                                                                                                                        ________________
                                                                     Official Form 6I                                                                                                   MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                            12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:           Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                                Debtor 1                                         Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional           Employment status                    Employed                                           Employed
                                                                            employers.                                                                  Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                   Occupation                     Psychiatrist
                                                                                                                                                  __________________________________                __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                   Employer’s name                Conventions Psychiatry
                                                                                                                                                  __________________________________                __________________________________


                                                                                                                   Employer’s address            Department      4563____ _____ ______ ____ __
                                                                                                                                                 __ ____ _______ _____                             ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                   Number    Street                                  Number     Street

                                                                                                                                                 __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                 ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____

                                                                                                                                                 Carol
                                                                                                                                                 __       Stream,
                                                                                                                                                    ____ _____      IL_____
                                                                                                                                                               ______   60122
                                                                                                                                                                            _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                   Cit y              State   ZIP Code               City                    State ZIP Code

                                                                                                                   How long employed there?            6_______
                                                                                                                                                         months                                      _______

                                                                      Part 2:           Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                              For Debtor 1           For Debtor 2 or
                                                                                                                                                                                                     non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.              2.
                                                                                                                                                                                11,538.46
                                                                                                                                                                             $___________               $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                  3.    + $___________
                                                                                                                                                                                   0.00             +   $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                             4.       11,538.46
                                                                                                                                                                             $__________                $____________



                                                                     Official Form 6I                                                          Schedule I: Your Income                                                              page 1
                                                                                         Case 15-18059                         Doc 1             Filed 05/22/15 Entered 05/22/15 10:49:52                                             Desc Main
                                                                                                                                                  Document     Page 24 of 29
                                                                     Debtor 1             Jennifer
                                                                                         ___          Mellin
                                                                                             _______ ____ _____ ______ _____ ____ _______ ____ _____ _____                                         Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.          11,538.46
                                                                                                                                                                                                   $___________               $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.         3,963.23
                                                                                                                                                                                                  $____________              $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5e. Insurance                                                                                                  5e.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5f. Domestic support obligations                                                                               5f.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                            5g. Union dues                                                                                                 5g.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                           0.00          +   $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.          3,963.23
                                                                                                                                                                                                  $____________              $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.          7,575.23
                                                                                                                                                                                                  $____________              $_____________
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                                                                      8.   List all other income regularly received:
                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                          0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            8e. Social Security                                                                                            8e.            0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                   0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                             8h. Other monthly income. Specify: _______________________________                                            8h.   + $____________
                                                                                                                                                                                                           0.00            + $_____________
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.            0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.
                                                                                                                                                                                                      7,575.23
                                                                                                                                                                                                  $___________       +        $_____________ = $_____________
                                                                                                                                                                                                                                                    7,575.23

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                             0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.        7,575.23
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                                 No.
                                                                                                None
                                                                                 Yes. Explain:


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                                           Case 15-18059                  Doc 1           Filed 05/22/15 Entered 05/22/15 10:49:52                              Desc Main
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                                                                                     Mellin, Jennifer
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           Jennifer
                                                                                            ___           Mellin
                                                                                                _______ ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                   Middle Name               Last Name                       Check if this is:
                                                                          Debtor 2           ___ _________ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                          (Spouse, if filing) First Name                  Middle Name               Last Name
                                                                                                                                                                                        An amended filing
                                                                                                                                                                                        A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: Northern District of Illinois                                       expenses as of the following date:
                                                                                                                                                                                        ________________
                                                                          Case num ber       ___ ____ _____ ______ _____ _____ _____________ __                                         MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                        A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                        maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                      12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                                No. Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                           No                                 Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and                          Yes. Fill out this information for Debtor 1 or Debtor 2                      age            with you?
                                                                           Debtor 2.                                         each dependent..........................
                                                                                                                                                                                                                             No
                                                                           Do not state the dependents’                                                         _________________________                 ________
                                                                           names.                                                                                                                                            Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                                                                                                                _________________________                 ________           No
                                                                                                                                                                                                                             Yes

                                                                     3.    Do your expenses include
                                                                                                                             No
                                                                           expenses of people other than
                                                                           yourself and your dependents?                     Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                     Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                        4.
                                                                                                                                                                                                                  2,437.00
                                                                                                                                                                                                            $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                               4a.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                    4b.             0.00
                                                                                                                                                                                                            $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                   4c.             0.00
                                                                                                                                                                                                            $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                     4d.            246.00
                                                                                                                                                                                                            $_____________________

                                                                          Official Form 6J                                                    Schedule J: Your Expenses                                                         page 1
                                                                                          Case 15-18059                Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                           Desc Main
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                                                                      Debtor 1            Jennifer
                                                                                          ___          Mellin
                                                                                              _______ ____ _____ ______ _____ ____ _______ ____ _____ _____          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                     Your expenses

                                                                                                                                                                                                    $_____________________
                                                                                                                                                                                                            0.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                         6a.            158.00
                                                                                                                                                                                                    $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                       6b.            78.00
                                                                                                                                                                                                    $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.            239.00
                                                                                                                                                                                                    $_____________________

                                                                             6d.                     Internet
                                                                                     Other. Specify: _______________________________________________                                        6d.            50.00
                                                                                                                                                                                                    $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                  7.             430.00
                                                                                                                                                                                                    $_____________________

                                                                      8.    Childcare and children’s education costs                                                                        8.              0.00
                                                                                                                                                                                                    $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                             9.             200.00
                                                                                                                                                                                                    $_____________________
                                                                     10.    Personal care products and services                                                                             10.            100.00
                                                                                                                                                                                                    $_____________________
                                                                     11.    Medical and dental expenses                                                                                     11.            95.00
                                                                                                                                                                                                    $_____________________

                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                           320.00
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                                                                                                                                                                                                    $_____________________
                                                                            Do not include car payments.                                                                                    12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.            100.00
                                                                                                                                                                                                    $_____________________
                                                                     14.     Charitable contributions and religious donations                                                               14.            30.00
                                                                                                                                                                                                    $_____________________

                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                         15a .           0.00
                                                                                                                                                                                                    $_____________________
                                                                             15b .   Health insurance                                                                                       15b .          255.00
                                                                                                                                                                                                    $_____________________
                                                                             15c.    Vehicle insurance                                                                                      15c.           54.00
                                                                                                                                                                                                    $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                       15d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                            0.00
                                                                                                                                                                                                    $_____________________
                                                                             Specify: ________________________________________________________                                              16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                             17a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                             17b .           0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 c.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17c.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17d .           0.00
                                                                                                                                                                                                    $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from                                     0.00
                                                                                                                                                                                                    $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                             0.00
                                                                                                                                                                                                    $_____________________
                                                                            Specify:_______________________________________________________                                                  19.


                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                           20 a.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20b .   Real estate taxes                                                                                     20b .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                          20c.             0.00
                                                                                                                                                                                                    $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                              20d .            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20e .   Homeowner’s association or condominium dues                                                           20e .            0.00
                                                                                                                                                                                                    $_____________________



                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                     0.00
                                                                                        Case 15-18059                Doc 1         Filed 05/22/15 Entered 05/22/15 10:49:52                             Desc Main
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                                                                       Debtor 1          Jennifer
                                                                                        ___          Mellin
                                                                                            _______ ____ _____ ______ _____ ____ _______ ____ _____ _____            Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name     Middle Name         Last Name




                                                                      21.     Other. Specify: _________________________________________________
                                                                                              Licensure/Continuing Medical Education                                                       21 .           250.00
                                                                                                                                                                                                  +$_____________________

                                                                      22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         5,042.00
                                                                                                                                                                                                    $_____________________
                                                                             The result is your monthly expenses.                                                                          22 .




                                                                      23.   Calculate your monthly net income.
                                                                                                                                                                                                          7,575.23
                                                                                                                                                                                                     $_____________________
                                                                            23a.   Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

                                                                            23b.   Copy your monthly expenses from line 22 above.                                                         23b .   – $_____________________
                                                                                                                                                                                                          5,042.00

                                                                            23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                          2,533.23
                                                                                                                                                                                                     $_____________________
                                                                                   The result is your monthly net income.                                                                 23c.




                                                                      24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                             For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                             mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                                No.
                                                                                Yes.    None




                                                                            Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
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Mellin, Jennifer                         Castle Orthopaedics              Credit One Bank Na
5 Penny Lane                             2111 Ogden Ave.                  Po Box 98872
Sugar Grove, IL 60554                    Aurora, IL 60504                 Las Vegas, NV 89193




C. David Ward                            Cb/talbots                       Hhrg
1480 N. Orchard Rd. Ste. 110             Po Box 182789                    PO Box 459080
Aurora, IL 60506                         Columbus, OH 43218               Sunrise, FL 33345-9080




Abigail Chiesa                           Chase                            Inpatient Consultants Of Illinois
757 Brighton Dr.                         800 Brooksedge Blvd.             Po Box 844918
Sugar Grove, IL 60554                    Westerville, OH 43081            Los Angeles, CA 90084




Alliance Clinical Associates SC          Chase Mtg                        Internal Revenue Service
7 Blanchard Circle, Ste 201              Po Box 24696                     P.O. Box 7346
Wheaton, IL 60189-2039                   Columbus, OH 43224               Philadelphia, PA 19101-7346




Associate Pathologists Of Joliet         Comenity Bank/pttrybrn           Midwest Orthopaedic
330 Madison Street, Suite 200            Po Box 182789                    25 Winfield Rd.
Joliet,, IL 60435                        Columbus, OH 43218               Winfield, IL 60190




Aurora Emergency Associates LTD          Comenity Capital/jjill           Navient
3429 Regal Dr.                           995 W 122nd Ave                  Po Box 9500
Alcoa, TN 37701-3265                     Westminster, CO 80234            Wilkes Barre, PA 18773




Bank Of America                          Comenitybank/coldwcmc            Presence Mercy Medical Center
Legal Order Processing                   3100 Easton Square Pl            Patient Financial Services
PO Box 15047                             Columbus, OH 43219               1643 Lewis Ave., Ste 203
Wilmington, DE 19850-5047                                                 Billings, MT 59102-4151



Barclays Bank Delaware                   Comenitybank/talbots             Prestbury Citizens Association
P.o. Box 8803                            Po Box 182789                    C/O Vanguard Community Mgmt
Wilmington, DE 19899                     Columbus, OH 43218               PO Box 61955
                                                                          Phoenix, AZ 85082-1955



Blackberie Hill Homeowners Association   Commerce Bk                      Prfrd Cus Ac
53 Hillcrest Drive                       Po Box 411036                    Cscl Dispute Team
Sugar Grove, IL 60554                    Kansas City, MO 64141            Des Moines, IA 50306




Capital One                              Conventions Psychiatry           Rush Copley Hospital
Pob 30281                                Department 4563                  Patient Financial Services
Salt Lake City, UT 84130                 Carol Stream, IL 60122           2000 Ogden Ave.
                                                                          Aurora, IL 60507
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Rush Copley Medical Group
2040 Ogden Ave., Suite 313
Aurora, IL 60504




Samba RX
1 First Canadian Place Ste 350
Toronto
Canada, ON M5X 1C1



State Tex Studen Ln 4
Po Box 12788
Austin, TX 78711




Sugar Grove Fire Protection District
PO Box 457
Wheeling, IL 60090-0457




Theodore Mellin
19 Oakridge Rd.
Annandale, NJ 08801
